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     Attorney for Defendant
 5
     MARCELLE BANAGA
 6
                                   UNITED STATES DISTRICT COURT
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8

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10                                                           CASE NO.: 2:15-CR-00235-TLN
       UNITED STATES OF AMERICA
11

12           PLAINTIFF                                       STIPULATION TO CONTINUE
                                                             JUDGMENT AND SENTENCING
13                                                           HEARING; ORDER
14     MARCELLE BANAGA
15
                         DEFENDANT
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                                              I.      STIPULATION
20   Defendant Marcelle Banaga by and through his counsel of record and plaintiff United States of
21   America, by and through its counsel of record hereby stipulate as follows:
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             1. By previous order, the judgment and sentencing hearing for Mr. Banaga is currently set for
     October 26, 2017.
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             2. By this stipulation, the parties jointly request that the judgment and sentencing hearing in
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     this matter be continued to January 25, 2018 at 9:30 a.m., and that the dates for preparation of the
27   sentencing memoranda be reset based on the sentencing date of January 25, 2018.
                                                        1
28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
               Case 2:15-cr-00235-TLN Document 315 Filed 10/13/17 Page 2 of 3


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 2           3. The continuance request is due to a significant personal matter that affects the availability

 3   of defense counsel to prepare for the sentencing.

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             4. Additionally, defendant, Mr. Banaga, through his counsel, expressly agrees that he will appear
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     before the Court on the date of January 25, 2018, and acknowledges that his failure to appear on that date
 6   may result in his immediate incarceration, that the United States may file additional charges for his failure
 7   to appear, which could result in a sentence of up to 10 years imprisonment in addition to the sentence

 8   imposed in this case, and that any failure to appear may jeopardize any motion for downward departure
     under U.S.S.G. §5K1.1 that the United States might file based on any substantial assistance provided to
 9
     the prosecution to date.
10

11           Dated: 10/12/2017
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                                                                        /s/ Alin D. Cintean
13                                                                      Alin D. Cintean
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16                                                                      /s/ Michael M. Beckwith
17                                                                      Michael M. Beckwith
                                                                        Todd A. Pickles
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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
               Case 2:15-cr-00235-TLN Document 315 Filed 10/13/17 Page 3 of 3


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                                                     ORDER
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     This matter came before the Court on the parties' stipulation to request a continuance of the judgment and
 5   sentencing hearing for defendants Marcelle Banaga. For the reasons stated above, and good cause
 6   showing, the Court GRANTS the parties' request and CONTINUES the judgment and sentencing hearing

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     to January 25, 2018 at 9:30 a.m. The dates for the preparation of the sentencing memoranda are RESET
     based on the sentencing date of January 25, 2018.
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     IT IS FURTHER ORDERED THAT defendant Banaga shall personally appear on January 25, 2018 at
10   9:30 a.m. in this Court.
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     IT IS SO FOUND AND ORDERED this 13th day of October, 2017.
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                                                              THE HONORABLE TROY L. NUNLEY
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                                                              UNITED STATES DISTRICT JUDGE
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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
